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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                   8:11CR40
                                              )
              v.                              )
                                              )
JENIFER TRINIDAD, JOSE OCHOA-                 )         MEMORANDUM AND ORDER
CALDERON                                      )
                                              )
                     Defendants.              )
                                              )


       This matter is before the court on defendant Trinidad’s objections to the Findings

and Recommendations (“F&R”) of the magistrate judge, Filing No. 71.

       Defendants sought suppression of evidence seized by and statements made to

Nebraska State Patrol officers conducting drug interdiction at the Greyhound Bus Depot

in Omaha, Nebraska, on September 20, 2010. Filing No. 22 & Filing No. 28, motions to

suppress. The magistrate judge recommended denial of the defendants’ motions to

suppress with respect to searches of the defendants’ luggage and the defendants’

statements, but recommended that evidence obtained from the defendants’ cell phones

should be suppressed. Filing No. 60, F&R; Filing No. 62, Transcript (“Tr.”) at 51-68.

       The magistrate judge first found that the initial contact with law enforcement officers

was a consensual and voluntary encounter that did not implicate the Fourth Amendment.

Id., Tr. at 62. Further, he found that if the encounter was not consensual, the officers had

a reasonable suspicion of criminal activity to justify a brief investigative detention. Id. at

63. Further, he found that defendant Trinidad was properly Mirandized and freely and

voluntarily waived her Miranda rights and gave a statement. Id. at 64. Also, he found that
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defendant Trinidad had abandoned the bag. Id. at 67. Last, he found that the bags had

not been improperly seized because there was no delay occasioned by the incident. Id.

at 68. Filing No. 48, Tr. of May 4, 2011, proceedings;

       Defendant Trinidad objects to the magistrate judge’s findings. She challenges the

magistrate judge’s credibility findings and contends the initial contact was not consensual.

She further objects to the finding that she freely and voluntarily accompanied law

enforcement officers to the baggage area and voluntarily chose to answer questions posed

by the officers. Further, she challenges the magistrate judge’s finding that there was no

delay to the passengers or significant impact on their freedom of movement when officers

blockaded the bus and required the passengers to answer questions regarding whether

either of two bags belonged to them. The defendant also argues that the luggage at issue

was not voluntarily abandoned for Fourth Amendment purposes because officers created

an environment where passengers felt compelled to answer their questions and because

officers failed to identify themselves during the questioning regarding ownership of the

luggage.

       Under 28 U.S.C. § 636(b)(1)(C), the court makes a de novo determination of those

portions of the report and recommendations to which the parties object. United States v.

Lothridge, 324 F. 3d 599, 600-01 (8th Cir. 2003). The court has conducted a careful de

novo review of the entire record pursuant to 28 U.S.C. § 636(b)(1)(A), including the

transcripts of the suppression hearings, Filing No. 48 and Filing No. 62.

                                          FACTS

       The court accepts the factual findings of the magistrate judge and they will be

repeated only as necessary to this opinion. See Filing No. 62 at 104-09. Briefly, the

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evidence adduced at the hearing shows that the encounter occurred at the Greyhound bus

station in Omaha during a scheduled stop for refueling and boarding new passengers.

Filing No. 48, Tr. at 5-7. Three plain-clothed law enforcement officers were conducting

drug interdiction at the bus station. Id. at 5. Officer Mark Eberle testified that, after the

passengers disembarked, he examined the luggage in the compartment under the bus and

noticed two pieces of luggage, one black and one gray, both destined for Elyria, Ohio, that

had computer-generated baggage tags without handwriting and screws connecting the

handle connection that appeared to have been tampered with. Id. at 8-10. He determined

on examination of Greyhound’s computerized ticketing information that the tickets for travel

to Ohio had originated in Los Angeles and had been purchased with cash. Id. at 13-14,

20. Officer Jason Scott testified that he conducted an “abandonment process,” whereby

he placed the two bags at the door of the bus and asked each passenger reboarding the

bus whether he or she owned the bag. Filing No. 62, Tr. at 12. No passenger claimed

ownership of the bags, although Officer Scott testified that one woman hesitated when

asked about it. Filing No. 62, Tr. at 14-15.

       Officer Eberle testified that while Scott was talking to those passengers, Officer

Eberle noticed a passenger, later identified as defendant Ochoa-Calderon, acting

suspiciously. Filing No. 48, Tr. at 28. Officer Eberle approached the man, identified

himself as a police officer, asked to see his ticket and identification, and questioned him

about his travel plans. Id. at 28-29. Eberle then noticed that Ochoa was extremely

nervous and found that his identification did not match the name on the bus ticket. Id. at

3–36. After Officer Scott returned and told Officer Eberle that no passenger had claimed

the bags, the officers searched the black bag and found two kilos of cocaine. Id. at 40.

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While the busdriver completed paperwork, the officers took both bags to a baggage room.

Id. at 40-42. Officer Eberle testified that defendant Ochoa-Calderon agreed to accompany

the officers to the room and agreed to answer a few questions. Id. at 43. Shortly

thereafter, law enforcement officers determined from Greyhound manifests that a second

person was also traveling to Elyria, Ohio.        Id.   Officer Scott and Officer Stephen

Rasgorshek then reboarded the bus to “go look for a passenger who was possibly going

to Elyria, Ohio.” Filing No. 62, Tr. at 24. Officer Scott testified that he told Rasgorshek

about the individual who had a “strong reaction” to the bag earlier. Id. at 17. Officer

Rasgorshek testified that they “were going to be looking for a possible female, heavy set.”

Id. Rasgorshek testified he identified himself as a law enforcement officer, showed his

credentials, informed the defendant that she was not in trouble nor under arrest, asked to

see her ticket and identification. Id. at 27. He noticed that her identification did not match

the name on her ticket, and then asked her to accompany him to the baggage room to

answer a few questions. Id. at 27-28. She agreed to do so and followed the officers to the

baggage room. Id. at 28. In the baggage room, she again denied that she owned either

of the two bags. Filing No. 48, Tr. at 98. The officers then searched the second suitcase

and found cocaine. Id. at 48-49. Defendant Trinidad gestured to Officer Eberle, indicating

that she wanted to talk to him, and Eberle and the defendant went to a separate area. Id.

at 49. Trinidad then began to volunteer information about the bags to Officer Eberle, at

which time he stopped her and gave a Miranda warning. Id. at 49-50. The defendant

waived her Miranda rights and continued to make several incriminating statements. Id. at

50-51. Officer Eberle testified that at that time the busdriver was still in the in the final



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stage of calling passengers and that the episode at issue lasted no longer than thirty

minutes. Filing No. 48, Tr. at 55.

                                             DISCUSSION

        The court agrees with the magistrate judge’s conclusion for the reasons stated in

his opinion. The search of the luggage was proper because it had been abandoned. The

defendant has not shown that the environment was so coercive as to amount to

abandonment resulting form police misconduct. Any expectation of privacy in property “is

forfeited upon its abandonment.” United States v. Voice, 622 F.3d 870, 878 n.3 (8th Cir.

2010) (quoting United States v. Tugwell, 125 F.3d 600, 602 (8th Cir. 1997)). Whether

property has been abandoned is a question of fact that turns primarily on whether the

objective facts available to the investigating officers evidenced (i) the suspect's denial of

ownership, and (ii) that he physically relinquished the property in a way that demonstrated

abandonment. Id.

        The court further agrees that the initial encounter with defendant Trinidad at the

door of the bus was a consensual encounter, as was the questioning that occurred on the

bus.1 The government has presented evidence that defendant Trinidad had denied

ownership of the luggage during that consensual encounter, long before she was asked

to disembark from the bus. Further, the evidence shows that by the time she agreed to

accompany the officers to the baggage room, the officers had information sufficient to

amount to a reasonable suspicion of criminal activity so as to justify a brief investigative


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         Although the court is inclined to believe that such questioning of passengers, especially that target
at a specific passenger can be a detention, the Eighth Circuit Court of Appeals has ruled otherwise. See
United States v. Correa, 641 F.3d 961 (8th Cir. 2011); United States v. Perdoma, 621 F. 3d 745, 749 (8th Cir.
2010).

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detention. Drugs had been found in the black bag and there was evidence from the

manifests that linked the defendant to the bag and/or its owner, defendant Ochoa-

Calderon. Further, Trinidad had provided identification that did not match the name on her

ticket. Under Eighth Circuit precedents, there is no evidence that would show that the

defendant’s actions were not voluntary. Accordingly,

        IT IS ORDERED:

        1.     Defendant Trinidad’s objection (Filing No. 71) to the Findings and

Recommendation of the magistrate judge (Filing No. 60) is overruled.

        2. The Findings and Recommendations of the magistrate judge (Filing No. 60) are

adopted.

        3. Defendant Trinidad’s motion to suppress (Filing No. 28 ) is denied in part and

granted in part.

        4. Defendant Ochoa-Calderon’s motion to suppress (Filing No. 22 ) is granted in

part and denied in part.

        DATED this 14th day of September, 2011.

                                                    BY THE COURT:



                                                    s/ Joseph F. Bataillon
                                                    Chief United States District Judge




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